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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al.,                       Case No. 14-10979 (CSS)

                                     Debtors.               (Jointly Administered)


               OBJECTION OF AD HOC EFH CLAIMANTS
TO MOTION OF UMB BANK, N.A., AS INDENTURE TRUSTEE, AND ELLIOTT FOR
ENTRY OF AN ORDER AMENDING THE FINDINGS OF FACT AND CONCLUSIONS
OF LAW ON JOINT MOTION TO FIX APPROPRIATE ALLOCATION OF CERTAIN
   RESERVES AND EXPENSES AS BETWEEN THE EFH AND EFIH DEBTORS

         The Ad Hoc EFH Claimants, 1 by and through their undersigned counsel Kasowitz

Benson Torres LLP and Hogan ♦ McDaniel, hereby object (the “Objection”) to the Motion of

UMB Bank, N.A., as Indenture Trustee, and Elliott For Entry of an Order Amending the

Findings of Fact and Conclusions of Law on Joint Motion to Fix Appropriate Allocation of

Certain Reserves and Expenses as between the EFH and EFIH Debtors [D.I. No. 13630] (the

“Motion”). In support of their Objection, the Ad Hoc EFH Claimants respectfully represent as

follows:

                                   PRELIMINARY STATEMENT

         1.     UMB Bank, N.A. and Elliott (collectively “Movants”) cannot meet the stringent

requirements of a motion to amend or alter a judgment following the trial held by this Court.

         2.     There is no dispute regarding the applicable standard. Movants must

demonstrate: (i) a change in controlling law, (ii) new evidence, or (iii) “a clear error of law or


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         The Ad Hoc EFH Claimants include (a) Alta Fundamental Advisers LLC, (b) Angelo, Gordon & Co., L.P.,
(c) Apollo Management Holdings L.P., (d) Brookfield Asset Management Inc., and (e) Farmstead Capital
Management, LLC, and each of their related funds. Verified Amended Statement of Kasowitz Benson Torres LLP
and Hogan ♦ McDaniel Pursuant to Bankruptcy Rule 2019 [D.I. No. 13327] at ¶¶ 3-4.
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fact.” See Motion, ¶ 14, citing Official Comm. of Unsecured Creditors v. Catholic Diocese of

Wilmington, Inc. (In re Catholic Diocese of Wilmington, Inc.), 437 B.R. 488, 490 (Bankr. D. Del.

2010) (citing Karr v. Castle, 768 F. Supp. 1087, 1093 (D. Del. 1991), aff’d, 22 F.3d 303 (3d Cir.

1994)).

          3.      The only ground Movants propose as a ground for reconsideration -- that the

Court incorrectly determined the amount of the EFH Asbestos Liabilities to be assumed by

NextEra -- does not meet that exacting standard because record evidence supported the Court’s

finding. Thus, there was no “clear error of law or fact,” and the Court should deny the Motion as

a result.

                                               BACKGROUND

          4.      The Court entered its 83-page Findings and Conclusions 2 on October 31, 2018

following the three-day trial it conducted in September. As relevant to the Motion, the Court

allocated 96.4% of the reserve and potential liability for the NEE Termination Fee Claim to

EFIH and 5.4% of that reserve to EFH. Findings and Conclusions, p. 83. The Court based this

allocation on its conclusion that the “measurable consideration” flowing to EFH as of September

19, 2016 (the “Approval Date”) 3 consisted of $471 million in projected distributable cash and

$58 million in assumed asbestos liability for a total of $529 million and that this amount was

5.4% of the total consideration under the NEE Merger of $9.827 billion. Findings and

Conclusions, ¶ 163.

          5.      In paragraph 38 of the Findings and Conclusions, the Court concluded that the

value of the assumption of the Asbestos Liabilities to EFH as of the Approval Date was $58
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          Capitalized terms used but not defined herein have the meaning ascribed to them in the Motion.
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         In paragraph 162 of the Findings and Conclusions, the Court found that the appropriate date to determine
the allocation of the NEE Termination Fee was September 19, 2016, the date the Court approved the NextEra
Merger Agreement.



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million. In so finding, the Court considered -- but rejected -- Elliott’s contention that the value

of the assumption of the Asbestos Liabilities should be based solely on the $100 million

Asbestos Escrow that was established under the NEE Merger Agreement:

             Significantly, notwithstanding the $100 million Asbestos Escrow, the
             Debtors estimated the value of the asbestos liability and “legacy
             claims” was $58 million. (AHX-226, Disclosure Statement for First
             Amended Joint Plan [DI 18899] p.18; Horton Dep. Tr. at 79:17-81:6;
             Strom Dep. Tr. at 149:13-17; 9/2/2018 Strom Written Direct ¶34.5)

Findings and Conclusions, ¶ 38.

       6.      Movants now contend that the Court’s estimate of the EFH Asbestos Liabilities

was based on facts “not known, established, or included in the record as of [September 19,

2016].” Motion, ¶ 15. Rather, they assert, the only amount having any record support is the

$100 million Asbestos Escrow “regardless of what the actual projected liabilities may be.” Id.

Movants further argue that the Court was required to ignore the evidence it credited and adopt

$100 million as the only measure of the Asbestos Liabilities on the ground that “[e]ach of the

sources cited in the Findings and Conclusions in support of the $58 million estimate relies on

information learned after September 19, 2016.” Motion, ¶ 16. In particular, Movants assert that

the Sempra Disclosure Statement cited by the Court was not filed until a year after the September

19, 2016 approval of the NEE Termination Fee; that Mr. Horton’s testimony was provided in

August 2018, and that Mr. Strom was an expert witness without personal knowledge, who relied

on the Sempra Disclosure Statement. Id.

       7.      Based on these arguments, Movants seek an order amending the Findings and

Conclusions to provide that EFH’s share of the NEE Termination Fee Claim reserve should be

increased by $42 million, increasing the EFH allocation to 5.8% from 5.4%.




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                                            OBJECTION

       8.      Movants have failed to establish that the Court made a “clear error of law or fact.”

“[C]lear error [exists] if ‘after reviewing the evidence, [the court is] left with a definite and firm

conviction that a mistake has been committed.’” Norristown Area Sch. Dist. v. F.C., 636 F.

App’x 857, 861 n.8 (3d Cir. 2016) (quoting Oberti v. Bd. of Educ., 995 F.2d 1204, 1220 (3d Cir.

1993)). Thus, the Court must conclude that there was no factual support for its findings.

       9.      Here, the Court did not overlook the “facts” cited by Movants. Movants simply

disagree with the conclusions the Court drew from those facts. Moreover, Movants provide no

authority to support their contention that the Court could only base its decision on the Asbestos

Escrow NextEra established (for its own purposes) and could not consider, as it did, the Debtors’

projected Asbestos Liabilities as of the Approval Date.

       10.     The Horton testimony that the Court cited indicates that Mr. Horton told NextEra

during the negotiation of the NEE Merger Agreement that, in his view, the amount of the

Asbestos Liabilities was “more like $45 or $50 million.” Horton Deposition at 83:13-14. It was

entirely appropriate for the Court to credit the testimony of the Debtors’ Senior Vice President

who was involved in the negotiations and the analysis of the asbestos liability.

       11.     Moreover, although Mr. Horton was not allowed to testify at the hearing as to the

projected amount of the Asbestos Liabilities based on the report that the Debtors received from

their third-party consultant, 9/6/18 Trial Tr. at 135, Mr. Horton did testify that he believed at the

time of the negotiations with NextEra that the amount of the Asbestos Escrow was too high. Id.

at 133-34. It is of no moment that the Debtors’ estimate was not made public until after the

Approval Date. Horton’s testimony demonstrates that the projections contained in the disclosure

statement were known to the Debtors at the time of the NextEra negotiations. Finally, there was

evidence in the record that NextEra crafted the asbestos reserve solely for its parochial concerns,


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not as a true reflection of any stakeholders’ views of the realistic liability. Id. at 87:7-88:10

(Keglevic); ELX-400, 9/21/2016 Hr’g Tr. at 13:23-14:21.

       12.     The Court did not overlook any proven facts. Just the opposite, the Court relied

on record evidence.

       13.     In addition, Movants’ contention that the Court could not consider

contemporaneous projections relating to the Asbestos Liabilities is completely inconsistent with

their contention regarding the other element of consideration that EFH was projected to receive

as of the Approval Date. Findings and Conclusions, ¶ 163 (“As of September 19, 2016 . . . [t]he

measureable consideration flowing to EFH was $471 million in cash and $58 million in assumed

asbestos liabilities.”). The Court premised its finding that EFH was projected to receive $471

million in cash consideration from the NEE Merger on its determination that, as of the Approval

Date, “the E-Side Debtors and Disinterested Directors believed, however, that it was unlikely

that this Court’s Makewhole Rulings would be overturned,” Findings and Conclusions, ¶ 33.

Thus, the Court did not discount those projections despite the undisputed fact that an appeal of

the Makewhole Rulings was then pending in the Third Circuit. If Movants are correct that the

Court should not have considered the Debtors’ projections of EFH’s future Asbestos Liabilities

(they are not), then they must also be contending that the Court should not have allocated to EFH

the full $471 million in consideration it was expected to receive on the assumption that the

Court’s Makewhole Rulings would be affirmed. If that amount were discounted by even 10%,

there would be a greater impact on EFH’s share of the NEE Termination Fee Claim reserve than

Movants’ proposed adjustment of the Asbestos Claims estimate by $42 million.




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                                         CONCLUSION

       WHEREFORE, the Ad Hoc EFH Claimants respectfully request that this Court enter an

order denying all relief requested in the Motion.


Dated: November 28, 2018
       Wilmington, Delaware

                                                        HOGAN ♦ MCDANIEL

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